     Case 3:21-cv-16324-GC-DEA Document 1 Filed 08/31/21 Page 1 of 9 PageID: 1


JOHNSTON LAW FIRM LLC
Thomas 0. Johnston, Esq. {Id: 040061998)
151 Forest Street. Suite A
Montclair, NJ 07042
(Tel) 973-447-4610
Attorneys for Plaintiff,
Hatikvah International Academy Charter School, Inc,

                          IN THE UNITED STATESDISTRICTCOURT FORTHE
                                     DISTRICTOF NEW JERSEY



HATIKVAH INTERNATIONALACADEMY CHARTER                          ON APPEAL FROM AN ORDER BY
SCHOOL, INC.                                                      SUSAN L. OLGIATI, A.L.J.
             Plaintiff (Respondent Below),

V.                                                    Civil Action No.

EASTBRUNSWICKTOWNSHIP BOARD OF
EDUCATION (Petitioner Below) and A.K. and R.K.                           COMPLAINT
on behalf of H.K. (Respondents Below), a minor

                Defendants.




          Plaintiff, Hatikvah International   Charter School, Inc. ("Hatikvah"),    by its undersigned

  attorneys, alleges as follows:

                                              INTRODUCTION

          1.     This appeal concerns the pendency rights of parties in a dispute over a disabled

  child's education   program      under the Individuals With Disabilities Education Act ("IDEA").

  Appellant Hatikvah International     Academy Charter School ("Hatikvah")      appeals the placing of

  fiscal responsibility on it for the child's private school placement on a pendency basis, in violation

  of the governing State statute.     By decision dated February 6, 2020, Hon. Susan L. Olgiati, A.L.J.
    Case 3:21-cv-16324-GC-DEA Document 1 Filed 08/31/21 Page 2 of 9 PageID: 2



(the "AU"} crafted below, a reimbursement system wherein Hatikvah pays for "stay put" costs

during the pendency of an IDEA due process hearing ("Stay Put Decision").

         2.      The hearing has concluded after three days and four witnesses' testimony, with

the AU finding that the challenging resident district, East Brunswick Board of Education ("East

Brunswick"), presented to the AU, multiple times, false sworn testimony about East Brunswick's

program available to H.K. Hatikvah and H.K.'s parents prevailed.

         3.      Although the AU designed in her Stay Put Decision, without                legal basis, a

reimbursement      system wherein Hatikvah would be made whole should East Brunswick not

prevail at the hearing, the AU denied such a reimbursement and divested herself of jurisdiction

over this matter after she issued her final decision. 1

        4.       East Brunswick has avoided its statutory          responsibilities    to pay for H.K.'s

placement at the Laurel School for the 20 months since it filed its challenge, premised on sworn

facts we now know to have been falsely presented.

                                           JURISDICTION

        5.       This Court has jurisdiction to hear and determine this action pursuant to 28 U.S.C.

§ 1331 as it involves a question of Federal law.          Specifically, jurisdiction   is conferred over

Plaintiff's appeal from an Order Granting Emergency Relief by Susan L. Olgiati, A.L.J., an

Administrative   Law Judge ("AU"} pursuant to the Individuals with Disabilities Education Act

("IDEA"}, 20 U.S.C. §1400 et seq. and 20 U.S.C. §1415{i)(2)(A}.




1
  Counsel for East Brunswick and Hatikvah are engaged in discussions about East Brunswick fully
reimbursing Hatikvah.


                                                  2
 Case 3:21-cv-16324-GC-DEA Document 1 Filed 08/31/21 Page 3 of 9 PageID: 3



          6.    This Court has personal jurisdiction over Defendants as they are residents of New


Jersey.

                                               VENUE


          7.    Venue is conferred upon this Court pursuant to 28 U.S.C. § 1391 (a) and (b), as all

parties hereto reside within this Judicial District, and all facts and circumstances giving rise to the

claim occurred within the jurisdictional boundaries of this District.

                                               PARTIES


          8.    Hatikvah is duly organized as a public charter school and a local education agency

("LEA") under the laws of the State of New Jersey and the IDEA. Its administrative offices are

located at 7 Lexington Avenue, East Brunswick, New Jersey 08816.

          9.    Defendant East Brunswick Township Board of Education ("Defendant" or "East

Brunswick") is a public school board which operates a public school district within the State of

New Jersey and receives federal funds in connection with its obligation to educate students with

disabilities pursuant to 20 U.S.C. § 1400 et seq.

          10.   A.K. and R.K. are parents to H.K., a minor, who reside in East Brunswick. They are

named herein as indispensable parties.

                  STATEMENT OF RELEVANT FACTS AND PROCEDURAL HISTORY


          11.   In or about September 2018, H.K.'s parents unilaterally placed him at the Laurel

School, a private school. On September 20, 2018, Hatikvah convened an IEP meeting. Hatikvah

proposed a placement for H.K.'s program in "a private state-approved school for students with

language-based learning disabilities, namely the Bridge Academy School ... " in Lawrenceville,

New Jersey. Hatikvah served the East Brunswick representatives a copy of the Bridge Academy




                                                    3
 Case 3:21-cv-16324-GC-DEA Document 1 Filed 08/31/21 Page 4 of 9 PageID: 4



IEPat the meeting. That IEPwould "result in a private day or residential placement" as described

in N.J.S.A. 18A:36A-11(b).

       12.     By letter dated September 27, 2018, H.K.'s parents filed a due process matter

challenging the Bridge Academy IEP and seeking reimbursement from Hatikvah for Laurel School

costs, among other remedies. H.K.'s parents also named East Brunswick as respondent.

       13.     On October 28, 2019, H.K.'s parents and Hatikvah reached a settlement on the

record before Hon. Jeffrey N. Rabin, A.L.J. The settlement called for H.K.'s IEPplacement location

to change to the Laurel School. AU Rabin approved the placement at the Laurel School.

       14.     N.J.S.A. 18A:36-11(b) provides that a district of residence, such as East Brunswick,

is fiscally responsible for a charter school student's private school costs.

       15.     On November 27, 2019, East Brunswick filed a petition for due process before the

New Jersey Department of Education Office of Special Education Programs to challenge the

placement at the Laurel School under N.J.S.A. 18A:36A-11(b).           On January 21, 2020, H.K.'s

parents filed an emergent motion seeking an order to compel East Brunswick or Hatikvah to pay

for the Laurel School costs on a pendency basis. The matter was assigned to the AU.

       16.     The AU issued the Stay Put decision on the emergent motion on February 6, 2020.

She ordered that Hatikvah pay for the Laurel School tuition costs during the pendency of this

matter. She cited no legal authorities which require a charter school to pay for pendency costs

at a disputed private school. She further ordered that East Brunswick transport H.K. to and from

the Laurel School, but that East Brunswick bill Hatikvah for those costs on a pend ency basis. She

cited to no authorities which support such a reimbursement system. Lastly, she stated in the

Order that Hatikvah "may seek" reimbursement           from East Brunswick if East Brunswick is




                                                 4
 Case 3:21-cv-16324-GC-DEA Document 1 Filed 08/31/21 Page 5 of 9 PageID: 5



unsuccessful in the underlying due process matter. She cited to no legal authorities to support

such a right to reimbursement,      nor did she affirm any right at all for Hatikvah to receive

reimbursement; instead, merely to "seek" reimbursement.        The Stay Put Decision stated that it

"shall remain in effect until issuance of the decision on the merits in the matter."

          17.   On March 4, 2020, Hatikvah appealed the Stay Put Decision in the matter

captioned Hatikvah International     Academy Charter School v. East Brunswick Twp Board of

Education, et al., bearing docket number 20-2382. On May 12, 2020, the District Court granted

in part and denied in part, Hatikvah's application for injunctive relief. Hatikvah appealed to the

Third Circuit Court of Appeals.

          18.   On April 12, 2021, the Third Circuit Court of Appeals heard oral argument on the

appeal.

          19.   As to the underlying due process hearing, on June 4, 2021, the AU issued a "Final

Decision on Motion for Involuntary Dismissal." By then, three days of testimony had occurred,

given by four witnesses called by East Brunswick during its case-in-chief.

          20.   The AU found that a witness for East Brunswick, Nicole McNamara, East

Brunswick's Supervisor of Special Education, swore in an affidavit months prior to multiple facts

which were false. Ms. McNamara swore that she was not contacted by anyone at Hatikvah

before H.K.'s private school placement for information        regarding East Brunswick's special

education programs for H.K. and that no Hatikvah representative reviewed programs available

for H.K. in East Brunswick.

       21.      Ms. McNamara's statements were used to ward off a finding of summary decision

following Hatikvah's motion filed on July 17, 2020. "[T]he affidavit of McNamara, upon which




                                                 5
 Case 3:21-cv-16324-GC-DEA Document 1 Filed 08/31/21 Page 6 of 9 PageID: 6



[East Brunswick] relied at the summary decision stage and continued to rely at hearing was

largely discredited."   (See Final Decision at p. 12.) Ms. McNamara repeated the false assertions

during her direct testimony at the hearing.

        22.     The AU found: "Having had the opportunity      to listen to the testimony of the

witnesses and to observe their demeanor, I do not accept the testimony of McNamara as

reasonable or reliable. Her testimony was internally inconsistent and often confusing, it was also

inconsistent   with the testimony     of [East Brunswick Special Education teacher]      Fabiano.

Therefore, I do not accept McNamara's testimony as credible." (See Final Decision at p. 10.)

        23.     The AU found that the program offered by East Brunswick is materially different

than the one selected by H.K.'s IEP team. In East Brunswick, H.K. would not receive instruction

by an "Orton-Gillingham"    instructor throughout the day, would have a 1:1 aide shadow him, in a

larger class than his current program, with peers who are cognitively dissimilar.

        24.     The AU ordered that "East Brunswick is responsible for the cost of H.K.'s

placement at the Laurel School determined by the October 28, 2019 IEP." (See Final Decision at

p. 13.) The AU did not decide Hatikvah's request for reimbursement.     Per the Stay Put Decision,

the Final Decision superseded the Stay Put Decision.

        25.     On June 9, 2021, Hatikvah's counsel requested by letter that the AU grant

Hatikvah's request in its motion that the AU "issue an order that East Brunswick Board of

Education reimburse Hatikvah International Academy Charter School for all Laurel School related

stay put costs incurred to date, within seven days." On June 9, 2021, the AU's assistant contacted

counsel and stated that the matter "concluded" and that the AU "transmitted back" the matter




                                                 6
 Case 3:21-cv-16324-GC-DEA Document 1 Filed 08/31/21 Page 7 of 9 PageID: 7



to the New Jersey Department of Education, and that the AU "no longer retains jurisdiction" of

the matter.

          26.    East Brunswick has not reimbursed Hatikvah for its pendency costs paid to Laurel

School.

          27.    On August 19, 2021, the Third Circuit Court of Appeals issued its decision,

reversing the District Court's order with respect to H.K. tuition costs and remanding for further

proceedings. Such decision compels East Brunswick to fully reimburse Hatikvah.

                                            FIRST COUNT


          28.    Hatikvah repeats the foregoing allegations as if set forth at length herein.

          29.    The AU rested her Stay Put Decision, placing pendency costs on Hatikvah, on the

ability of Hatikvah to "seek" reimbursement if it prevailed in the due process hearing.

          30.    Yet, when the AU decided the hearing, entirely against East Brunswick, she

refused to consider Hatikvah's request for reimbursement for pendency costs paid to Laurel

School, even though the reimbursement system is one she designed in the Stay Put Decision. Per

the Stay Put Decision, it was superseded by the Final Decision.          The AU's refusal to order

reimbursement was arbitrary, without legal basis and erroneous.

          WHEREFORE,Plaintiff requests that this Court:

          A.     Issue an Order requiring East Brunswick to reimburse costs incurred by Hatikvah

to fund H.K.'s placement at the Laurel School.

          B.     Award attorney's fees to Hatikvah; and




                                                  7
 Case 3:21-cv-16324-GC-DEA Document 1 Filed 08/31/21 Page 8 of 9 PageID: 8



       C.     Issue an Order enjoining East Brunswick from further disregarding its stay put

obligations to be the fiscally responsible party during the pendency of any proceedings brought

under N.J.S.A. 18A:36A-11(b}; and

       D.     Issue an Order entering sanctions against East Brunswick for its conduct in the

proceedings below; and

       E.     Grant such other relief as this Court deems just and proper.

                                            Respectfully submitted,

                                            JOHNSTON LAW FIRM LLC
                                            Attorneys for Plaintiff
                                            Hatikvah International Academy Charter School, Inc.



                                            By:
                                                      -~as~
August 31, 2021




                                              8
 Case 3:21-cv-16324-GC-DEA Document 1 Filed 08/31/21 Page 9 of 9 PageID: 9



                                       CERTIFICATION



       I hereby certify that the matter in controversy is not the subject of any other court,

arbitration or administrative proceeding, other than the concluded due process matter in this

matter below, and the proceedings remanded by the Third Circuit Court of Appeals, captioned

Hatikvah International Academy v. East Brunswick Township Board, et al, bearing docket number

20-2083.



                                           By:
                                                       ~~Thomas 0. Johnston



DATED:August31,2021




                                             9
